                         UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF ALASKA


 UNITED STATES OF AMERICA,

                      Plaintiff,                     Case No. 3:18-cr-00029-RRB

        vs.
                                                       ORDER GRANTING
 HAYDEN BEARD,                                        LEAVE TO FILE REPLY

                      Defendant.




              Having considered Defendant’s Motion for Leave to File Reply, and this

Court being fully advised in the premises, the motion for leave to file a reply is GRANTED.

              IT IS HEREBY ORDERED that Defendant may file a reply regarding the

Motion for Compassionate Release at Docket 83 on or before August 13, 2020.

              IT IS SO ORDERED this 7th day of August, 2020, at Anchorage, Alaska.


                                                           /s/ Ralph R. Beistline
                                                         RALPH R. BEISTLINE
                                                    Senior United States District Judge




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